                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                   No. CR00-0025-LRR
                                                               No. C04-0006-LRR

 vs.
                                                                     ORDER
 SUSAN TITLBACH,
                 Defendant.
                               ____________________________


         This matter comes before the court on the defendant’s motion for a certificate of
appealability (Docket No. 365) and notice of appeal (Docket No. 364). The defendant filed
both pleadings on June 6, 2005. Based on her pleadings, it is clear the defendant seeks an
appeal from the court’s January 19, 2005 order dismissing her 28 U.S.C. § 2255 motion and
the March 31, 2005 order denying her motion for reconsideration.
         In a 28 U.S.C. § 2255 proceeding before a district judge, the final order shall be
subject to review, on appeal, by the court of appeals for the circuit in which the proceeding
is held. See 28 U.S.C. § 2253(a). Unless a circuit justice or judge issues a certificate of
appealability, an appeal may not be taken to the court of appeals.            See 28 U.S.C. §
2253(c)(1)(A).    A district court possesses the authority to issue certificates of appealability
under 28 U.S.C. § 2253(c) and Fed. R. App. P. 22(b). See Tiedeman v. Benson, 122 F.3d
518, 522 (8th Cir. 1997). Under 28 U.S.C. § 2253(c)(2), a certificate of appealability may
issue only if a defendant has made a substantial showing of the denial of a constitutional
right. See Miller-El v. Cockrell, 537 U.S. 322, 335-36, 123 S. Ct. 1029, 1039, 154 L. Ed.
2d 931 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77 (8th Cir. 2000); Carter v.
Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Cox v. Norris, 133 F.3d 565, 569 (8th Cir.



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1997); Tiedeman, 122 F.3d at 523. To make such a showing, the issues must be debatable
among reasonable jurists, a court could resolve the issues differently, or the issues deserve
further proceedings. Cox, 133 F.3d at 569 (citing Flieger v. Delo, 16 F.3d 878, 882-83 (8th
Cir. 1994)). See also Miller-El, 537 U.S. at 335-36 (reiterating standard).
       Courts reject constitutional claims either on the merits or on procedural grounds.
“‘[W]here a district court has rejected the constitutional claims on the merits, the showing
required to satisfy [28 U.S.C.] § 2253(c) is straightforward: the [defendant] must
demonstrate that reasonable jurists would find the district court’s assessment of the
constitutional claims debatable or wrong.’” Miller-El, 537 U.S. at 338 (quoting Slack v.
McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 146 L. Ed. 2d 542 (2000)). When a federal
habeas petition is dismissed on procedural grounds without reaching the underlying
constitutional claim, “the [defendant must show], at least, that jurists of reason would find
it debatable whether the petition states a valid claim of the denial of a constitutional right
and that jurists of reason would find it debatable whether the district court was correct in
its procedural ruling.” See Slack, 529 U.S. at 484.
        Having thoroughly reviewed the record in this case, the court finds the defendant
failed to make the requisite “substantial showing” with respect to all of the claims she
raised in her 28 U.S.C. § 2255 motion. See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b).
Because she does not present questions of substance for appellate review, there is no reason
to grant a certificate of appealability. Accordingly, the defendant’s motion for a certificate
of appealability (Docket No. 365) is denied. If she desires further review of her 28 U.S.C.
§ 2255 motion, the defendant may request issuance of the certificate of appealability by a
circuit judge of the Eighth Circuit Court of Appeals in accordance with Tiedeman, 122 F.3d
at 520-22.
       The Clerk of Court is directed to forward this matter to the Eighth Circuit Court of
Appeals for further disposition.

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  IT IS SO ORDERED.
  DATED this 21st day of June, 2005.




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